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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           FORT LAUDERDALE DIVISION

 KURT SUTHERLAND,                                  §
                                                   §
         Plaintiff,                                §
                                                   §
 v.                                                §
                                                   §      Case No. 0:23-cv-61954-RS
 RADIUS GLOBAL SOLUTIONS, LLC                      §
                                                   §
         Defendants.                               §
                                                   §

      DEFENDANT, RADIUS GLOBAL SOLUTIONS, LLC’s, ANSWER AND
         AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

        Defendant, Radius Global Solutions, LLC (“RGS”), through counsel and pursuant

 to the Federal Rules of Civil Procedure, hereby submits its Answer and Affirmative

 Defenses to the Complaint filed by Plaintiff, Kurt Sutherland (“Plaintiff”), and states:

                                     INTRODUCTION

        1.     RGS admits Plaintiff filed this action for alleged violations of the Fair Credit

 Reporting Act (“FCRA”), 15 U.S.C. § 1681 et seq., but denies any violations, liability,

 damages, or wrongdoing under the law. Except as specifically admitted, RGS denies the

 allegations in ¶ 1.

                               BASIS OF JURISDICTION

        2.     RGS does not contest jurisdiction and venue at this time. Except as

 specifically admitted, RGS denies the allegations in ¶ 2.




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        3.     RGS does not contest jurisdiction at this time. Except as specifically

 admitted, RGS denies the allegations in ¶ 3, including the suggestion Plaintiff has asserted

 any state law claims.

                                          PARTIES

        4.     Upon information and belief, RGS admits that Plaintiff is a natural person

 residing in Fort Lauderdale, Florida. Except as specifically admitted, RGS denies the

 allegations in ¶ 4 as calling for a legal conclusion.

        5.     RGS admits that it is a foreign limited liability company. Except as

 specifically admitted, RGS denies the allegations in ¶ 5.

        6.     RGS denies the allegations in ¶ 6 as calling for a legal conclusion.

        7.     RGS denies the allegations in ¶ 7 as calling for a legal conclusion.

                                FACTUAL ALLEGATIONS

        8.     RGS denies the allegations in ¶ 8 for lack of knowledge or information

 sufficient to form a belief therein.

        9.     RGS denies the allegations in ¶ 9 for lack of knowledge or information

 sufficient to form a belief therein.

        10.    RGS denies the allegations in ¶ 10.

        11.    RGS denies the allegations in ¶ 11 as written and as calling for a legal

 conclusion.

        12.    RGS admits only that it did not own the account made the basis of this

 lawsuit. Except as specifically admitted, RGS denies the allegations in ¶ 12.




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         13.   RGS admits it did not enter into a contract with Plaintiff. Except as

 specifically admitted, RGS denies the allegations in ¶ 13.

         14.   RGS denies any violations of plaintiff’s rights as alluded to in ¶ 14.

         15.   RGS denies the conduct attributed to it and thus denies the allegations in

 ¶ 15.

         16.   RGS denies the allegations in ¶ 16.

         17.   RGS denies the allegations in ¶ 17.

         18.   RGS denies the allegations in ¶ 18.

         19.   RGS denies the allegations in ¶ 19.

         20.   RGS denies the allegations in ¶ 20.

         21.   RGS denies the allegations in ¶ 21.

         22.   RGS denies the allegations in ¶ 22.

         23.   RGS denies the allegations in ¶ 23.

         24.   RGS denies the allegations in ¶ 24.

 COUNT I [ALLEGED] VIOLATION OF THE FAIR CREDIT REPORTING ACT
     15 U.S.C. § 1681b(f) Defendant RADIUS GLOBAL SOLUTIONS, LLC

         25.   RGS reasserts the foregoing as if fully stated herein.

         26.   RGS denies the allegations in ¶ 26.

         27.   RGS denies the allegations in ¶ 27 and its subparts (a) through (f).

         28.   RGS denies the allegations in ¶ 28.

                    JURY DEMAND AND PRAYER FOR RELIEF

         29.   RGS denies that plaintiff is entitled to any relief sought.



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        WHEREFORE, Defendant, Radius Global Solutions, LLC., respectfully requests

 the Court dismiss this action with prejudice and grant it any such other and further relief

 the Court deems appropriate.

                                AFFIRMATIVE DEFENSES

        1.     To the extent that any violations are established, any such violations were

 not intentional and resulted from bona fide error notwithstanding the maintenance of

 procedures reasonably adopted and specifically intended to avoid any such error.

        2.     RGS denies any liability; however, regardless of liability, Plaintiff has

 suffered no actual damages as a result of RGS’s purported violations.

        3.     At all relevant times, RGS maintained and followed reasonable procedures

 to avoid violations of the Fair Credit Reporting Act and assure maximum possible accuracy

 of the information.

        4.     RGS at all times acted in compliance with the Fair Credit Reporting Act.

        5.     Assuming that Plaintiff suffered any damages, he has failed to mitigate his

 damages or take other reasonable steps to avoid or reduce his damages.

        6.     Any harm suffered by Plaintiff was legally and proximately caused by

 persons or entities other than RGS and who were beyond the control or supervision of RGS

 or for whom RGS was and is not responsible or liable.

        7.     Plaintiff has failed to state a claim against RGS upon which relief may be

 granted.




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       WHEREFORE, Defendant, Radius Global Solutions, LLC, respectfully requests the

 Court dismiss this action with prejudice and grant it any other relief the Court deems

 appropriate.

 Dated: November 7, 2023                        Respectfully submitted,

                                                /s/ Bradley J. St. Angelo
                                                Bradley J. St. Angelo, Esq.
                                                Florida Bar No. 119399
                                                SESSIONS, ISRAEL & SHARTLE, LLC
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                                                Metairie, LA 70004
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                                                Attorneys for Defendant,
                                                Radius Global Solutions, LLC

                             CERTIFICATE OF SERVICE

       I hereby certify that on November 7, 2023, a copy of the foregoing was

 electronically filed with the Clerk of the Court, United States District Court for the

 Southern District of Florida and served via CM/ECF and U. S. Mail, postage prepaid, upon

 the following:

 Kurt Sutherland – Pro Se Plaintiff
 11635 NW 16th St.
 Fort Lauderdale, FL 33311
                                                       /s/ Bradley J. St. Angelo
                                                       Attorney




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